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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION
IN RE:                                                           CASE NO. 19-30822
                                                                 CHAPTER 7
TAGNETICS INC.                                                   JUDGE GUY R. HUMPHREY


                Debtor                                  NOTICE OF APPEARANCE
                ______ ______________________________________________

        Now comes Chris Wesner, and says that he enters his appearance in the case for Kayser Ventures Ltd.
Further, Chris Wesner says that Kayser Ventures Ltd. consents to this Notice of Appearance as indicated by
the signature of the sole owner of Kayser Ventures Ltd., Kenneth W. Kayser.

                                                         Respectfully submitted,

                                                          /s/ Chris Wesner
                                                         Chris Wesner #0082699
                                                         Miller Luring Venters & Wesner Co., LPA
                                                         314 W Main Street
                                                         Troy OH 45373
                                                         (937) 339-2627 Phone
                                                         (937) 33905444 Fax
                                                         chriswesnerlaw@gmail.com

                                                         /s/ Kenneth W. Kayser
                                                         Kenneth W. Kayser for Kayser Ventures Ltd.
                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of May, 2019, a true and correct copy of the foregoing Notice
of Appearance was served on the following registered ECF participants, electronically through the Court’s
ECF System at the email address registered with the Court:
U.S. Trustee (Day)
Asst. US Trustee (Day)
Office of US Trustee
170 N. High Street
Suite 200
Columbus, OH 43215-2417

and the following by ordinary U.S. Mail addressed to:

Tagnetics Inc.
3415 RT 36
Piqua, OH 45356

Kenneth W. Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
6429 Winding Tree Dr.
New Carlise, OH 45344

Kayser Ventures Ltd.
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1872 Pratt Dr.
Ste. 1800
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Jonathan Hager
2170 River Oaks Drive
Salem, VA 24153

Robert Strain
427 Artell St.
Marcengo, IL 60152
S-Tek Inc.
1100 Wayne St.
Suite 5000
Troy, OH 45373
                                               /s/ Chris Wesner
                                               Chris Wesner
